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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
EMR/GN                                              271 Cadman Plaza East
F. #2018R02232                                      Brooklyn, New York 11201



                                                    October 10, 2023

By ECF and E-mail

Erica Vest
United States Probation Officer
Eastern District of New York
One Pierrepont Plaza
Brooklyn, New York 11201

               Re:    United States v. Jacob Daskal
                      Criminal Docket No. 21-110 (NGG)

Dear Probation Officer Vest:

                The government submits this letter in response to the defendant Jacob Daskal’s
objections to the September 29, 2023 Presentence Investigative Report (“PSR”) in the above-
captioned case (the “Objections” or “Obj.”).

                On July 14, 2023, the defendant pleaded guilty to Count Two of the superseding
indictment, pursuant to a Rule 11(c)(1)(C) plea agreement (the “Plea Agreement”). As per the
Plea Agreement, the Office and the defendant agreed that a specific sentence within the
Guidelines range of 168 to 210 months’ imprisonment, followed by a period of supervised
release of five years, was the appropriate term of imprisonment and term of supervised release in
this case. In the Plea Agreement, specifically, the defendant agreed to the following:
               In the event that the agreed-upon sentencing range is below or above
               the Guidelines sentencing range calculated by the Court, the
               defendant and the Office consent to an adjustment under 18 U.S.C.
               § 3553(a) and the Office will inform the Court at the time of
               sentencing why the adjustment is justified. The defendant agrees
               that no departure under the Guidelines or adjustment under 18
               U.S.C. § 3553(a) is warranted in this case.
See Plea Agreement at 2.
               The defendant has now filed objections both to the Guidelines calculation in the
PSR (which calculated the defendant’s Guidelines range to be 262 to 327 months) and the
Guidelines calculation used to arrive at the range of 168 to 210 months’ imprisonment in the Plea
Agreement, asserting that the applicable Guidelines range is actually 97 to 121 months’
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imprisonment. Obj. at 1. The defendant specifically disputes the application of the (1) the five-
point pattern enhancement under U.S.S.G. § 4B1.5(b)(1); (2) the two-level enhancement for use
of a computer under U.S.S.G. § 2G1.3(b)(3)(A); and (3) the two-level enhancement for undue
influence under U.S.S.G. § 2G1.3(b)(2)(B). Id. He is incorrect.

               At the change of plea hearing on July 14, 2023 the government set forth the
overall applicable Guidelines range—including the three enhancements now disputed by the
defendant—as well as the calculation that supported a Guidelines range of 168 to 210 months’
imprisonment in the Plea Agreement:

               [I]f the defendant were to be convicted at trial, the Government
               believes that the base offense level would be a 28. That's under the
               Sentencing Guidelines 2G1.3(a)(3). Next, the Government believes
               there would be an enhancement of two points under 2G1.3(b)(1)
               because the victim was in the care of the defendant at the time of the
               sexual abuse. The Government also believes that there would be an
               enhancement of two points under 2G1.3(g)(4) because the offense
               involved the commission of a sex act or sexual contact. Next, the
               Government believes there would be an enhancement of two points
               for the use of a computer under 2G1.3(b)(3). The Government also
               believes there would be an enhancement of two points for undue
               influence under 2G1.3(b)(2) and the Government notes that this --
               there is a presumption that that enhancement applies when there is
               more than a ten-year age difference between the victim and the
               defendant. The Government also believes there would be a two-
               point enhancement under 3A1.1(b)(1) for a vulnerable victim, given
               the victim's family circumstances in this case. 1 And finally, the
               Government believes that under 4B1.5(b)(1) a pattern of prohibited
               sexual conduct with a minor enhancement should be applied. That's
               a five-point enhancement, Your Honor. . . . And that would be life.
               Without the pattern enhancement, it would again be 235 to 293.

               [ . . .]

               [O]ur guidelines [in the Plea Agreement] would include the base
               level of 28, two-point enhancement for care of the defendant, two-
               point enhancement for commission of a sex act, and the pattern. It
               also includes a two-point reduction for acceptance of responsibility,
               but not three points, Your Honor, given that we were about to choose
               a jury on Monday morning. . . . That brings us to a 35, Your Honor.
               And that’s 168 to 210.

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        Notably, Probation did not include the two-point vulnerable victim enhancement in the
PSR. See PSR at 24. The government did not include that enhancement to arrive at the
Guidelines range in the Plea Agreement and is not seeking a hearing to prove that the
enhancement applies.


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7/14/23 Plea Transcript, at 20-22. Following the government’s explanation, the Court turned to
the defense, asking “Anything from you, sir, on that?” Id. at 22. Defense counsel responded, “No,
Your Honor.” Id.

               Although the government did not include the use of a computer and undue influence
enhancements to arrive at the range of 168-210 months in the Plea Agreement, the government
maintains that all three enhancements now disputed by the defendant apply here.

       A.      Use of a Computer, U.S.S.G. § 2G1.3(b)(3)(A)

                 The defendant argues that he is not eligible for the two-level enhancement for use
of a computer under U.S.S.G. § 2G1.3(b)(3)(A), because Jane Doe lived with the defendant for
“much of the timeframe of the offense conduct,” and therefore “no electronic device was necessary
to facilitate the crime.” Obj. at 2. This argument ignores the fact that the defendant used social
media, text messages and Skype to communicate with and groom Jane Doe leading up to and
throughout the charged time period. Indeed, at trial, the government would have proven that Jane
Doe and the defendant in fact did not always live together throughout August and November 2017,
that they texted each other more than 12,000 times over the four-month period between August
and November 2017, and that the defendant asked Jane Doe pose nude for him over Skype during
the charged time period. The government also expected to prove that in August 2017 alone (the
time period that the conduct in Count Two occurred), the defendant and the victim exchanged over
5,000 voice and text communications. As the Application Notes to U.S.S.G. § 2G1.3(b)(3)(A)
make clear, the enhancement is intended to apply “to the use of a computer or an interactive
computer service to communicate directly with a minor,” or precisely the conduct at issue in this
case. See Application Note 4 to U.S.S.G. § 2G1.3(b)(3)(A).

       B.      Undue Influence, U.S.S.G. § 2G1.3(b)(2)(B)

                 The defendant also disputes the application of the two-level enhancement for
undue influence under U.S.S.G. § 2G1.3(b)(2)(B), arguing that the only “undue influence”
exerted by the defendant was “based on his position of custody and care at the time of the
offense,” which is already accounted for in the Custody and Care enhancement under U.S.S.G. §
2G1.3(b)(1)(B). Obj. at 2. To the contrary, there are numerous facts in this case that support a
finding that the defendant’s “influence over [the Victim] compromised the voluntariness of [her]
behavior,” see Application Note 3(B) to § 2G1.3(b)(2)(B), separate and apart from the fact that
the Victim was in the defendant’s care throughout much of the charged conduct, including the
defendant’s position of power in their shared community in Borough Park, Brooklyn, his
relationships with law enforcement, and the 44-year age difference between him and the Victim.
Indeed, there is a rebuttable presumption that the enhancement should apply when the defendant
is at least 10 years older than the Victim, because “some degree of undue influence can be
presumed because of the substantial difference in age[.]” Id.




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       C.      The Pattern Enhancement, U.S.S.G. § 4B1.5(b)(1):

                Finally, the defendant argues that the five-point enhancement for a pattern of
activity involving prohibited sexual conduct under U.S.S.G. § 4B1.5 does not apply here, in part
because all of the conduct at issue involves the same victim. Obj. at 3. The Second Circuit—
including in the cases cited by the defendant— has left open the question of whether the pattern
enhancement could apply in a case involving a single victim. See United States v. Quiroz-
Martinez, 822 F. App’x 30 (2d Cir. 2020) (“We need not decide whether an offense of
conviction that consists of repeated acts of prohibited sexual misconduct against the same minor
in a short period of time (here, enticing the same minor to send sexually explicit photographs on
three different days over the course of nineteen days) satisfies the “pattern of activity”
requirement of § 4B1.5(b). . . .”). However, other courts have applied the enhancement to cases
where, as here, the pattern of abuse involved a single victim. See United States v. Fox, 926 F.3d
1275, 1280–81 (11th Cir. 2019) (applying the enhancement and noting that “Congress
specifically contemplated that the five-level enhancement under § 4B1.5(b)(1) should apply in
circumstances where a minor victim is repeatedly abused by the same perpetrator on separate
occasions.”) (citing H.R. Conf. Rep. No. 108-66, at 59 (2003)).

                 The defendant also argues that the enhancement does not apply because “all of the
prohibited sexual conduct involving Jane Doe comprise his conviction in this case.” Obj. at 3.
Again, he is incorrect. The defendant’s guilty plea under Count Two of the superseding
indictment, to transporting a minor in interstate commerce with intent to engage in criminal
sexual activity in violation of 18 U.S.C. § 2423(a), does not cover all of the conduct in the case.
In addition to the conduct covered by Count One of the superseding indictment, using an
interstate facility to coerce a minor to engage in illicit sexual conduct in violation of 18 U.S.C. §
2422(b), the defendant also engaged in other, uncharged conduct, including repeated acts of
sexual abuse against the Victim in both South Fallsburg and Brooklyn New York and attempting
to produce and/or receive child pornography by requesting that the Victim pose nude on Skype
and send him nude photographs. See United States v. Broxmeyer, 699 F.3d 265, 285 (2d Cir.
2012. (“‘Prohibited sexual conduct’ includes not only conduct violating specified federal
criminal statutes § 4B1.5 cmt. n.4(A)(i) (citing 18 U.S.C. § 2426(b)(1)(A) (specifying federal
offenses listed under chapters 109A, 110, 117, or section 1591 of title 18 of the United States
Code)), but also conduct violating state law that would have constituted one of these specified
federal offenses ‘if the conduct had occurred within the special maritime and territorial
jurisdiction of the United States,’ 18 U.S.C. § 2426(b)(1)(B).”).

                For the reasons set forth above, the Court should find that the Probation
Department correctly calculated the Guidelines for the defendant and properly applied (1) the
five-point pattern enhancement under U.S.S.G. 4B1.5(b)(1); (2) the two-level enhancement for
use of a computer under U.S.S.G. 2G1.3(b)(3)(A); and (3) the two-level enhancement for undue
influence under U.S.S.G. 2G1.3(b)(2)(B).




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               Pursuant to the parties’ Plea Agreement, however, the parties have agreed to a
sentence between 168 and 210 months’ imprisonment, and that “no departure under the
Guidelines or adjustment under 18 U.S.C. § 3553(a) is warranted in this case.” Thus, the
government maintains that the defendant’s objections to the Guidelines be denied in its entirety
and a sentence at the top end of the Guidelines range of 168 to 210 months’ imprisonment be
imposed.


                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                             By:        /s/
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cc:    Clerk of Court (NGG) (by E-mail and ECF)
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